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JOE T. YOUNG,

     Plaintiff,

     V.                                                   CV 2:18-022


DAVID BRADY,

     Defendant.


                                      ORDER


     Plaintiff filed         this   action   pro    se   seeking    damages   under

42 U.S.C. § 1983.         Dkt. No. 1-1 at 12-14.           Before the Court are


Plaintiff's First Motion for Summary Judgment, dkt. no. 5, and

Second Motion for Summary Judgment, dkt. no. 19, and Defendant's

Motion for Summary Judgment, dkt. no. 21.                These motions have been

fully briefed and are ripe for review.                   For the reasons stated

below, factual disputes preclude summary judgment in favor of

either side.       The motions, at this time, are DENIED.

                                    BACKGROUND


     Plaintiff      had    an   encounter    with   Defendant      David   Brady   at

Sidney Lanier Park in Brunswick, Georgia.                   Dkt. No. 21-1 SI 1.

Defendant David Brady is a Game Warden in the ""Law Enforcement

Division of the Georgia Division [sic] of Natural Resources (DNR)

in Region 7, based in Brunswick, Georgia."                Id. SI 2.
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                                    The Encoun-ber


      On August 27, 2017, Plaintiff was sitting in his parked truck

with his windows up in a gravel parking lot in Sidney Lanier Park.

Dkt. No. 21-3 SI 8, 9; ''Officer Brady, Body Camera" (Video) at 0:13.

The gravel lot had no lines designating parking spots, and there

were no vehicles, other than Plaintiff's and Defendant's, parked

in   that    gravel      lot   at   the   time   Plaintiff   was   approached   by

Defendant.      Video at 0:13-0:32; Video at 1:10.             Defendant parked

his truck near Plaintiff's and walked to Plaintiff's driver-side

window.       Id.   at   0:12-0:23.       When   Plaintiff   was   approached   by

Defendant, he was relaxing in the driver's seat of his truck.               Dkt.

No. 21-5 at 28.^           When Defendant got to Plaintiff's window, he

asked plaintiff if he was "okay" and told him to "roll your window

down."      Video 0:21-0:24.        Plaintiff waived Defendant off and drove


forward, dkt. no. 21-5 at 29, video at 0:23-0:28; as soon as the

truck started moving. Defendant struck Plaintiff's window with his



^ Plaintiff was deposed by Defendant. Dkt. No. 21-5. During the
deposition. Plaintiff read portions of his complaint verbatim
after being asked to describe in his words what happened. Id. at
26-29.   While the Complaint is not evidence, the testimony that
Plaintiff gave in his deposition detailing under oath facts
relating to the incident in question is evidence that the Court
must consider at this stage in the proceeding, even if the factual
allegations in the deposition were repeated verbatim from the
Complaint. Darwin v. Nicholson, 221 F. App'x 918, 920 (11th Cir.
2007) ("Depositions generally are admissible provided that the
party against whom they are admitted was present, represented, or
reasonably noticed, pursuant to Rule 32(a) of the Federal Rules of
Civil Procedure.  Moreover, depositions are specifically allowed
in consideration of summary judgment." (citation omitted)).
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hand, video at 0:24-0:25.        For the time period (approximately three

seconds)     that    the     video    showed      Plaintiff's      truck     moving.

Plaintiff's    brake    lights       were   activated.       Id.    at    0:25-0:27.

Defendant immediately returned to his truck and pursued Plaintiff.

Id. at 0:26-0:34.       The pursuit did not last long, less than thirty

seconds elapsed from the time Defendant put his truck in drive to

when he put it back into park, behind Plaintiff's truck.                      Id. at

0:35-1:03.    At some point. Defendant activated his vehicle's blue

emergency lights.          Id. at 3:00-3:01 (showing that the vehicle's

blue emergency lights were activated).

     Again,     Defendant      got    out    of   his    truck     and     approached

Plaintiff.    Id. at 1:09-1:26.         Immediately after Defendant exited

his truck. Plaintiff asked Defendant ''are you stopping this truck?"

Id. at 1:12.     Defendant responded, "yes sir, I am."                   Id. at 1:13.

Defendant then walked toward Plaintiff's driver-side window.                      Id.

at 1:13-1:25.       When Defendant was approaching Plaintiff, Plaintiff

stated that he "didn't want to talk" to Defendant, that he "ain't

done nothing," again that he did not "want to talk to" Defendant,

that he "remain[s] silent" and              has not "done        nothing," and     he

requested that Defendant "keep [his] hands off his weapon."                       Id.

When Defendant got to Plaintiff's truck, he asked Plaintiff for

his driver's license.          Id. at 1:29.        Plaintiff repeated much of

what he had just said.        Id. at 1:29-1:44.         Defendant then requested

twice that Plaintiff step out of Plaintiff's vehicle.                    Id. at 1:44-
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1:47.     Plaintiff responded by asking why Defendant wanted to see

his driver's license,       and   Defendant        responded, ''because          you're

sitting over here sleeping" before he was cut off by Plaintiff,

who stated that "sleeping's not a crime."                   Id. at 1:47-1:53.

        Defendant finally got Plaintiff to step out of the vehicle:

Defendant opened Plaintiff s door, and Plaintiff exited his truck

on his own power, without any assistance from Defendant.                        Id. at

1:58-2:07.      After    about    a      minute    of       back-and-forth     between


Defendant and Plaintiff, Defendant handcuffed Plaintiff.                        Id. at

2:07-3:10.     Defendant contended that he was putting Plaintiff in

handcuffs for Defendant's safety.               Id. at 3:06-3:10.             Defendant

retrieved Plaintiff's wallet from his pants pocket and removed his

driver's license from the         wallet.       Id. at 3:19-3:47.             Defendant


called in the driver's license over his radio.                        Id. at 4:39-4:47.


Soon after. Defendant communicated to Plaintiff that he was "not

under arrest right now" but that he was only "being detained."

Id. at 5:10-5:13.


        About a minute later. Defendant gave the second in a series

of   explanations    for    his     encounter       with         Plaintiff,^    telling

Plaintiff    that "the     reason       [he]   pulled       up   to    [Plaintiff]   was

because    you're   underneath      a    bridge.        I    was   checking    on    your

welfare."     Id. at 6:20-6:25.          Plaintiff interrupted Defendant at



2 The first explanation was that Plaintiff was "sitting over here
sleeping." Video at 1:47-1:53.
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this   point,   before    Defendant   continued, ""I    walked   up to the

vehicle.    You put it in drive and took off."         Id. at 6:26-6:34.   A

little later. Defendant informed Plaintiff that his ''sleeping bag

was sitting on the back of the truck, too."              Id. at 7:18-7:20.

Plaintiff told    Defendant that      he   was letting it dry off, and

Defendant replied "okay."       Id. at 7:21-7:27.       Plaintiff was soon

after unhandcuffed.       Id. at 8:18-8:27.    Defendant then said, "if

you want to roll off that's fine, you might want to grab your

sleeping bag."     Id. at 8:48-8:52.       Plaintiff was free to go and

soon after drove away.       Id. at 10:14.

       Throughout the encounter. Plaintiff's truck bed was covered

by a tarp.      Id. at 0:21.     The tarp did not sit down onto the

floorboard but was flat across the truck bed and even with the top

of the truck bed's siding; it appears that the tarp was laying on

top of a hard covering.        Id.    On top of the tarp was a sleeping

bag that was flat and unfurled, with the top of the sleeping bag

near the back window of the truck and the bottom near the truck's

tailgate.    Id. at 0:21, 2:45, 2:57.

                    Plaintiff s Injury Allegations

       On August 21, 2017, six days prior to the encounter. Plaintiff

had a medical procedure to address a hernia.            Dkt. No. 21-1 S[ 33.

As part of the procedure. Plaintiff had sutures. Id. SI 34.          During

the encounter with law enforcement, at least some of the sutures

came out.    Id. SI 35.    Plaintiff testified that he suffered a week
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or two of pain because the sutures pulled out during the encounter.

Dkt. No. 21-5 at 49.         Plaintiff did not know exactly when they

came out, but he testified that it was likely when he exited the

truck    at   Defendant's   insistence.         Id.   at    54.    Nevertheless,

Plaintiff exited his truck under his own power as Defendant did

not touch Plaintiff or aid him in anyway.                  Dkt. No. 21-1 SI 16.

Plaintiff also testified that he suffered from emotional distress


due to the encounter.       Dkt. No. 21-5 at 52-53.         Plaintiff testified

that as a result of the encounter he was embarrassed, id. at 49,

traumatized, id. at 52, and shocked, id. at 57-58, and that during

the encounter he was afraid of getting shot, id. at 54.

                              Palmetto Berries


        Brian Clavier is the Chief of Law enforcement for the Georgia

Forestry Commission.        Dkt. No. 44-2 SI 1.            One of his duties in

this role is to coordinate with the Georgia Department of Natural

Resources investigations into the unauthorized harvest of palmetto

berries in Georgia.       Id. SI 2.   Picking palmetto berries is not per

se illegal in Georgia; rather, unauthorized palmetto berry pickers

may violate Georgia's criminal trespass statute (O.C.G.A. § 16-7-

21)     and   Georgia's   statute     for    trespassing      on   DNR   property

(O.C.G.A. § 16-9-58).       Id. SI 3.       Trespass and theft of berries on

state property primarily occurs in Waycross, Georgia, at Dixon

State Forest, which is several miles from Sidney Lanier Park in

Brunswick.      Id. SI 4.    Trespass and theft of berries on private
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property occurs throughout the southeast region of Georgia.                  Id.

Palmetto-berry-harvesting season is from August to October, and a

large amount of the theft occurs in August when the berries first

appear but before the authorized harvesters have begun to harvest.-

Id. 1 5.


     The   Georgia   DNR   publishes    a   weekly   report      for   its   law

enforcement division that contains "a broad sampling of events

that have taken place in the past week."         Dkt. No. 44-4 at 2.         The

weekly report for the week of August 13—August 19, 2017, contains

a report of one ''palmetto berry bust." Id. at 8.           In Brantley/Ware

County, on August 14, 2017, a DNR officer contacted another DNR

officer and complained of illegal-palmetto-berry picking that was

taking place on state property.    Id. Two officers began patrolling

the area and came into contact with a passenger van that fit the

description given by the first officer.              Id.     The patrolling

officers initiated a traffic stop and found approximately 1800

pounds of palmetto berries.       Id.       The weekly report contains a

picture of large bags stuffed full of berries.             Id.

     Plaintiff, acting pro se, filed this action to recover damages

and other compensation, which Plaintiff claims is owed to him under

42 U.S.C. § 1983.
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                                LEGAL STANDARD


      As an initial matter, it is well-settled that courts in this

circuit   must ''construe       pro   se   pleadings liberally."           Dixon   v.

Hodges, 887 F.3d 1235, 1237 (11th Cir. 2018).

      Summary judgment is required where "the movant shows that

there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law."                      Fed. R. Civ. P.

56(a).    A fact is "material" if it "might affect the outcome of

the   suit   under    the   governing      law."      FindWhat     Inv^r   Grp.    v.

FindWhat.com,    658     F.3d   1282,      1307    (11th   Cir.    2011). (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).                         A

dispute is "genuine" if the "evidence is such that a reasonable

jury could return a verdict for the nonmoving party."                       Id.    In

making this determination, the court is to view all of the evidence

in the light most favorable to the nonmoving party and draw all

reasonable inferences in that party's favor.               Johnson v. Booker T.

Washington Broad. Serv., Inc., 234 F.3d 501, 507 (11th Cir. 2000).

      The moving party bears the initial burden of demonstrating

the absence of a genuine issue of material fact.                  Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986).               The movant must show the court

that there is an absence of evidence to support the nonmoving

party's case.        Id. at 325.      If the moving party discharges this

burden,   the   burden      shifts to      the    nonmovant to     go   beyond     the
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pleadings and present affirmative evidence to show that a genuine

issue of fact does exist.              Anderson, 477 U.S. at 257.

       The nonmovant may satisfy this burden in two ways.                           First,

the nonmovant ^'may -show that the record in fact contains supporting

evidence, sufficient to withstand a directed verdict motion, which

was    ^overlooked or ignored' by the moving party, who has thus

failed    to    meet     the   initial        burden   of   showing       an    absence   of

evidence."      Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1116 (11th

Cir. 1993) (quoting Celotex Corp., 477 U.S. at 332 (Brennan, J.,

dissenting)).          Second,      the       nonmovant ''may      come    forward    with

additional      evidence       sufficient       to   withstand , a   directed       verdict

motion at trial based on the alleged evidentiary deficiency."                             Id.

at 1117.     Where the nonmovant attempts to carry this burden instead

with     nothing    more       "than      a    repetition     of     his       conclusional

allegations, summary judgment for the [movant is] not only proper

but required."         Morris v. Ross, 663 F.2d 1032, 1033-34 (11th Cir.

1981) (citing Fed. R. Civ. P. 56(e)).

                                       DISCUSSION


       "To     prevail    on    a   claim      under § 1983,         a   plaintiff     must

demonstrate both (1) that the defendant deprived her of a right

secured under the Constitution or federal law and (2) that such a

deprivation occurred under color of state law." Arrinqton v. Cobb

Cty., 139 F.3d 865, 872 (11th Cir. 1998), as amended (May 28,

1998).       Nevertheless, "the first step in any § 1983 analysis
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requires identification of the precise right that is alleged to

have been violated.        Different rights prescribe different legal

analyses, so accurately diagnosing the right at issue is critical

to properly analyzing a § 1983 plaintiff's claims.              And correctly

diagnosing the precise right involved, in turn, demands careful

consideration of the alleged facts."              Alcocer v. Mills, 906 F.3d

944, 947 (11th Cir. 2018).

     Plaintiff's Amended Complaint alleges that Defendant falsely

arrested   and     imprisoned   Plaintiff    in    violation   of   the   Fourth

Amendment, as incorporated by the Fourteenth Amendment, of the

United   States    Constitution.     ''The   Fourth     Amendment,    which   is

applicable    to    the   States   through    the     Fourteenth     Amendment,

guarantees the right against unreasonable searches and seizures."

Brown v. City of Huntsville, Ala., 608 F.3d 724, 734 n.l5 (11th

Cir. 2010) (citations omitted).       "There are three broad categories

of police-citizen encounters for purposes of our Fourth Amendment

analysis: (1) police-citizen exchanges involving no coercion or

detention; (2) brief seizures or investigatory detentions; and (3)

full-scale arrests.       With regard to the second category of police-

citizen encounters, the Fourth Amendment does not prohibit a police

officer in appropriate circumstances and in an appropriate manner

from approaching a person for purposes of investigating possible

criminal behavior, even though there is no probable cause to make

an arrest."      United States v. Partin, 634 F. App'x 740, 746 (11th

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Cir. 2015) (citation omitted).         Recently, the Eleventh Circuit has

discussed a fourth category of police-citizen encounters: traffic

stops.    See United States v. Gibbs, 2019 WL 1050884, at *3 (11th

Cir. Mar. 6, 2019) (''Under the Fourth Amendment, a police officer

generally may lawfully detain an individual without a warrant if

(1) there is probable cause to believe that a traffic violation

has occurred (a traffic stop). . . ."))•             Because Defendant does

not argue, and the record contains no evidence, that a traffic

violation occurred, this category is not implicated in this case

(even though Plaintiff was pulled over while in his truck).

     As described by the Eleventh Circuit, a full-scale arrest is

a different category of police-citizen encounter than a brief

seizure or investigatory detention, i.e., a Terry stop.                  Terry v.

Ohio, 392 U.S.       1 (1968).      Each category requires a different

analysis for determining whether one's constitutional rights have

been violated.       Regarding the first category, i.e., a full-scale

arrest, a police officer violates the Constitution when he or she

arrests an individual without probable cause.                   Jones v. Cannon,

174 F.3d 1271, 1283 (11th Cir. 1999) ("An arrest without probable

cause    is    unconstitutional.").      As   to   the    second   category,     an

officer       violates   the   Constitution   when   he    or    she   detains   an

individual without reasonable suspicion.                 Jackson v. Sauls, 206

F.3d 1156, 1165 (11th Cir. 2000) ("[A]n officer may, consistent

with the Fourth Amendment, conduct a brief, investigatory stop

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when   the   officer   has   a     reasonable,    articulable    suspicion   that

criminal activity is afoot." (alteration in original) (quoting

Illinois V. Wardlow, 528 U.S. 119, 123 (2000))).                Here, Plaintiff

was told by Defendant that he was being stopped, so he was at the

very least detained.         The Court must determine, however, whether

he was arrested or not; this determination will shape the analysis

for whether Defendant violated Plaintiff's constitutional rights.

I.    Plaintiff was not Arrested, but was Briefly Seized as part of

an Investigatory Stop

       The   Court     considers       four      nonexclusive    factors     when


determining whether a detention was a Terry stop or a full-scale

arrest: ''(1) the law enforcement purpose served by the detention;

(2)    the    diligence      with     which   the     officers     pursued    the

investigation;       (3)     the     scope    and    intrusiveness     of     the

investigation; and (4) the duration of the detention."                     United

States V. Street, 472 F.3d 1298, 1306 (11th Cir. 2006) (citation

omitted).     ''While restriction on freedom of movement is a factor

to be taken into account in determining whether a person is under

arrest, it alone is not sufficient to transform a Terry stop into

a de facto arrest."        United States v. Acosta, 363 F.3d 1141, 1147

(11th Cir. 2004).

       The first factor is inconclusive because the law enforcement


purpose of the detention is unclear at this point in the record.

The reasons evolved well into briefing.             Throughout the detention,

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Defendant   made    varying       statements    relating         to    the    purpose   of

Plaihtiff's detention.        First, Defendant stated that Plaintiff was

sleeping.     Next,    Defendant        stated    that      he        was    checking   on

Plaintiff s welfare and that when Defendant approached Plaintiff,

Plaintiff   drove   off.      Then,     Defendant     stated          that   Plaintiffs

''sleeping bag was sitting on the back of the truck, too."                         Video

at   7:18-7:20.       Later,       another     motive      has    been       posited    in

Defendant's   briefing       in    opposition    to     Plaintiffs            motion    for

summary judgment and in support of Defendant's own motion for

summary judgment.      That is. Defendant now contends that he was

actually investigating whether Plaintiff was engaged in illegal-

palmetto-berry harvesting.           The last round of briefing indicates

that not long before the encounter with Plaintiff there was a

person arrested several miles away and a few counties over who

trespassed to pick such berries.               Given the ambiguity regarding

the law enforcement purpose of Plaintiff's detention, this factor

is, at best, inconclusive of whether the detention was a full-

scale arrest or an investigatory stop.

      Furthermore,     the     second    factor       is    inconclusive          because

without clarity as to the law enforcement purpose served by the

detention, the Court cannot determine the diligence with which

Defendant pursued the purpose of the investigation.

      Even if the first two factors point to a full-scale arrest,

which they do not, the last two factors weigh heavily in favor of

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an investigatory stop and thus require a finding of the same.                        The

scope, intrusiveness, and duration of the detention make this a

Terry    stop    and     not     a    full-scale     arrest.          The   scope    and

intrusiveness       of    the    investigation       were     limited.       The    most

intrusive     aspect     of     the   investigation     was     the   handcuffing    of

Plaintiff and removal of his wallet from his pants.                          Defendant

also radioed in        Plaintiff's driver's license             number and license


plate.    This was the limit of the investigation; Defendant did not

even ask Plaintiff if Defendant could search Plaintiff's truck or


sleeping bag.          Lastly, the entire encounter lasted around ten

minutes, and Plaintiff was only handcuffed for about five of these

minutes.    This is a short time frame, and the detention lasted as

long as necessary for Defendant to get back word on his radio that

Plaintiff     did   not    have       any   outstanding     warrants.       Thus,    the

detention was an investigatory stop and not a full-scale arrest.

II. Defendant is neither Entitled to Qualified Immunity nor Summary

Judgment at this Stage of the Case

        Defendant argues that he is entitled to qualified immunity.

'"Qualified     immunity        protects      government    officials       performing

discretionary functions from suits in their individual capacities

unless their conduct violates 'clearly established statutory or

constitutional      rights of         which    a   reasonable    person     would   have

known.'"      Dalrymple v. Reno, 334 F.3d 991, 994 {11th Cir. 2003)

(quoting Hope v. Pelzer, 536 U.S. 730, 739 (2002)).                     For qualified

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immunity to apply, the official must establish that ^^he was acting

within the scope of his discretionary authority when the allegedly

wrongful acts occurred."           McCullouqh v. Antolini, 559 F.3d 1201,

1205 (11th Cir. 2009) (citation omitted).                If Defendant shows he

was acting within the scope of his discretionary authority, then

the burden shifts to Plaintiff to ''show that: (1) the defendant

violated a constitutional right, and (2) this right was clearly

established at the time of the alleged violation."                    Whittier v.

Kobayashi, 581 F.3d 1304, 1308 (11th Cir. 2009) (quoting Holloman

V. Harland, 370 F.3d 1252, 1264 (11th Cir. 2004)).               Also, the Court

is permitted to use its discretion to address the second qualified-

immunity prong first, which it does here.              Poulakis v. Rogers, 341

F. App'x 523, 525 (11th Cir. 2009).

       As   an    initial   matter.    Defendant       was   acting   within   his

discretionary authority throughout the encounter, and Plaintiff

has not argued otherwise.          Thus, the burden shifts to Plaintiff to

"show that: (1) the defendant violated a constitutional right, and

(2) this right was clearly established at the time of the alleged

violation."       Whittier, 581 F.3d at 1308.

       The Court addresses the second prong, whether the right was

clearly established, first.           The second prong asks whether the law

enforcement officer had "arguable reasonable suspicion" to detain

the person as part of an investigatory stop; if the officer did

not,   then      the   officer   violated    clearly   established     law.    See

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Poulakis V. Rogers, 341 F. App'x 523, 526 (11th Cir. 2009) (citing

Case    V.   Eslinqer,      555   F.3d      1317,    1327    (11th     Cir.    2009))      ("In

wrongful     arrest      cases,      we   have frequently framed              the   ^clearly

established' prong as an              ^arguable probable cause' inquiry.                    In

other    words,     we   have     said    that      when    an    officer     violates     the

Constitution because he lacked probable cause to make an arrest,

the officer's conduct may still be insulated under the second prong

of qualified immunity if he had ^arguable probable cause' to make

the     arrest.")).          Furthermore,           because         arguable     reasonable

suspicion is a lower standard than reasonable suspicion, if an

officer      did   not   have     arguable       reasonable         suspicion,      then   the

officer necessarily did not have reasonable suspicion.

        Before determining whether Defendant had arguable reasonable

suspicion to detain Plaintiff, the Court must determine at what

point Plaintiff was detained, or "seized."                        It is at that point in

time that Defendant must have had arguable reasonable suspicion

for the detention to be constitutional.                          "Whether a    seizure      has


occurred depends on whether a reasonable person, in light of the

totality of the circumstances, would have believed that he was not

free to leave."           United States v. Brown, 700 F. App'x 976, 978

(11th    Cir.      2017).       As    the    United        States    Supreme     Court      has

recognized, the subjective intention of an officer to detain a

person had that person attempted to leave "is irrelevant except

insofar as that may have been conveyed to the [person]."                             U.S. v.

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Mendenhall, 446 U.S. 544, 554 n.6 (1980).                           Likewise, the inquiry

is not whether Plaintiff believed he was free to leave but whether


a   reasonable        person       would      have    such    belief      under     the     same

circumstances.             Here, a reasonable person would not believe that

he is free to leave when a police officer approaches the person's

vehicle, hits the driver-side window of the vehicle when the person

drives away, immediately pursues the vehicle with the officer's

blue, emergency lights activated, exits the police vehicle, and

affirmatively answers that he is stopping the person's vehicle.

Thus,    when     Defendant        exited       his   vehicle       the   second    time     and

confirmed to Plaintiff that he was being stopped. Plaintiff was

^'seized" within the meaning of the Fourth Amendment.

        Turning      to     the    second       prong    of   the     qualified     immunity

analysis,       here,        the    right       allegedly       violated      was    clearly

established       at       the    time   of     the     alleged     violation.        ''A    law

enforcement official who reasonably but mistakenly concludes that

reasonable suspicion is present is still entitled to qualified

immunity.       When an officer asserts qualified immunity, the issue

is not whether reasonable suspicion existed in fact, but whether

the   officer        had    ^arguable'      reasonable        suspicion     to    support     an

investigatory stop."               Jackson v. Sauls, 206 F.3d 1156, 1165-66

(11th Cir. 2000).

        To   determine        whether      an    officer      had    arguable      reasonable

suspicion       to    conduct       an   investigatory          stop,     courts '"analyze

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whether a reasonable officer could have believed that the [seizure]

comported with the Fourth Amendment."                   Brent v. Ashley, 247 F.3d

1294, 1303 (11th Cir. 2001) (internal quotation marks and citation

omitted).    In other words, ^^[a]rguable reasonable suspicion exists

if a reasonable officer in the same circumstances and possessing

the same information could have believed that reasonable suspicion

existed."    Dowlinq v. City of Fort Lauderdale, Fla., 2013 WL 76301,

at *3 (S.D. Fla. Jan. 4, 2013) (citing Lee v. Ferraro, 284 F.3d

1188,    1195    (11th    Cir.    2002)).       ^'In    undertaking     the   arguable

reasonable suspicion inquiry, this Court must examine the totality

of   the   circumstances         to   determine      whether     an   officer   had   a


^particularized and objective' basis to support his suspicion.

Whether    the     officer's      suspicion      ends     up    being   mistaken      is

immaterial so long as it was reasonable."                   Whittier, 581 F.3d at

1309 (11th Cir. 2009) (citations omitted). ''Because the objective-

reasonableness       test    applies     to     Fourth      Amendment,    qualified-

immunity analysis, courts do not speculate as to what government

officials       subjectively      thought      but     assess   their    actions     for

objective reasonableness under established constitutional law."

United States v. Lewis, 674 F.3d 1298, 1315 (11th Cir. 2012).

        Defendant,   in    his    supplemental         brief,   argues that     he   had

arguable reasonable suspicion that Plaintiff had trespassed to

pick palmetto berries based on "the time of year (a very short

harvesting season when DNR officers are specifically patrolling

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for illegal harvesting), the location of the encounter (a region

of   the    State    that     is   specifically   patrolled       for   illegal

harvesting), the presence of what appeared to be a ^large cloth

bag sticking up from the bed of his pickup truck, which appeared

to be the type of bag that is used in the illegal harvesting,' and

then also [Plaintiff]'s flight upon            noticing    Defendant Brady's

approach."    Dkt. No. 44 at 4 (quoting Dkt. No. 21-3 SI 10).

     According to the Defense, anyone in Southeast Georgia with a

bag in their pickup truck during palmetto-berry-picking season can

be stopped.     Motions Hearing on February 19, 2019, at 10:16:44-

10:18:02.     Wrong.      The Court is well aware of just how low a

standard ^^arguable reasonable suspicion" is.                  However, a     walk

through all of the factors shows that law enforcement are not

immune from detaining anyone in Southeast Georgia who has a bag in

a pickup truck.

     First, the observance of an unfurled, flattened sleeping bag

in the bed of a parked truck in a public park in the middle of the

day is     not a    particularized    and objective       basis establishing

reasonable suspicion of criminal activity—no matter what berry-

picking    season    it     is.    Defendant   offers     no    basis   for    why

Defendant's sleeping bag appeared ""to be the type of bag used by

illegal palmetto harvesters,"         dkt. no. 21-2 at 10, except for the

fact that it was large enough to hold berries.                 Along this line,

even if it were common knowledge that palmetto-berry harvesters

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store illegally harvested berries in sleeping bags (which it is

not), Defendant has not stated why he had a particularized and

objective    basis    for   believing     that     Plaintiff's     unfurled   and

flattened    sleeping    bag     harbored    illegally       harvested   palmetto

berries.


      In fact, Defendant implicitly admitted at oral argument that,

other than the fact that the sleeping bag could hold berries, there

was nothing suspicious about the sleeping bag.                   Notably, it is

difficult    to   evaluate      Defendant's       position    because    so   many

changing    reasons     were    offered     for   the   stop.     Nevertheless,

Defendant's counsel stated at oral argument that the traffic stop

was terminated because Defendant did not see any berries or twigs

that might signify that berries were stored in the sleeping bag.

The sleeping bag, as shown by the video, was in the same position

when Defendant first approached Plaintiff and observed—from an

arms-length away (as evidenced by Defendant hitting Plaintiff's

^window)—Plaintiff drive forward.         Therefore, Defendant's purported

justification for investigating should have been dispelled when he

initially approached Plaintiff's truck and saw no evidence of berry

picking.    Under these facts. Defendant's observation of a sleeping

bag during palmetto-berry-picking season in Southeast Georgia was

not   a   particularized       and   objective    basis   for    believing    that

criminal activity was afoot.




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       Second, Defendant argues that the sleeping bag in the truck

bed during palmetto-berry-picking season in Southeast Georgia in

conjunction    with    Plaintiff      driving    away    when    Defendant    first

approached     him     establishes      arguable        reasonable    suspicion.^

Defendant's position places citizens between a rock and a hard

place and cuts against the Fourth Amendment's guarantee of freedom

from   unreasonable     searches      and    seizures.      Again,    Defendant's

argument is that during the month of August any person with a bag

and a pickup truck is subject to being stopped by police if they

choose to     drive   within    two   counties    of    Waycross.     The    Fourth

Amendment    and    clearly    established      law    interpreting   it     do   not

support such a breathtaking intrusion by law enforcement.

       The   fact    that   Plaintiff   drove     away    from    Defendant       when

Defendant walked up to Plaintiff's driver-side window is not enough



^ Defendant states that Plaintiff ''abruptly drove away" when
Defendant first approached him. Dkt. No. 21-2 at 4. When asked
at   oral  argument   to  explain   the   reasoning  behind   this
characterization. Defendant stated that when Plaintiff was pulling
away there was a loud noise consistent with somebody pulling away
very quickly.   While the video does contain a loud noise when
Plaintiff moved forward, the loud               noise is    not from Plaintiff
driving over an unidentifiable object, but from Defendant smacking
Plaintiff's window with his hand.             Further, the video shows that
Plaintiff drove away at an insignificant pace: Plaintiff's truck
did not lurch forward; his tires did not squeal; nor was there any
other indication that Plaintiff drove away "abruptly."     Rather,
Plaintiff's brake lights were on for the three seconds that the
video showed Plaintiff driving off, which is consistent with
someone driving away at a non-significant speed.


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to establish arguable reasonable suspicion.            See Fla. v. Bostick,

501 U.S. 429, 437, 111 S. Ct. 2382, 2387, 115 L. Ed. 2d 389 (1991)

(''We have consistently held that a refusal to cooperate, without

more, does not furnish the minimal level of objective justification

needed for a detention or seizure.''); Fla. v. Royer, 460 U.S. 491,

498 (1983) (plurality opinion) (stating that a person approached

by a police officer "need not answer any question put to him;

indeed, he may decline to listen to the questions at all and may

go on his way," and that the person approached "may not be detained

even momentarily without reasonable, objective grounds for doing

so; and his refusal to listen or answer does not, without more,

furnish those grounds"); WBY, Inc. v. DeKalb Cty., Georgia, 695 F.

App'x 486, 493 (11th Cir. 2017) ("Georgia law clearly provides

that citizens have no freestanding obligation to comply with a

police officer's requests when the officer is not discharging a

lawful duty.      For example, when an officer detains an individual

without    reasonable   suspicion,   the     citizen      is   free   to   ignore

requests and/or to walk away, and ... no charge of obstruction

[will]    lie."   (internal   quotation     marks   and    citation    omitted)

(alteration in original));        U.S. v. Marcelino, 736 F. Supp. 2d

1343, 1348-51 (N.D. Ga. 2010) (finding no reasonable suspicion

when defendant was walking in a well-known, high-crime gang area

and   immediately    walked   away   when    approached        by   federal   law

enforcement agents).      Defendant did not have arguable reasonable

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suspicion to detain Plaintiff at that point in time, nor at any

other point during the encounter.                 Accordingly, a reasonable jury

could    find    that      Defendant   violated      Plaintiff's      constitutional

right to be free from unreasonable seizures.

        Defendant's initial brief cites two cases for the proposition

that    Plaintiff's        detention   was   constitutional.         Both   cases    are


materially distinguishable.            First, U.S. v. Franklin was an appeal

of a denial of a motion to suppress.                      323 F.3d 1298 {11th Cir.

2003).     Thus, the Eleventh Circuit viewed the facts in the light

most favorable to the government.                 There, the court found that the

defendant       was   in   ''a   problem   area,     at    night,   underneath   a    no

loitering sign" and took flight when approached by officers.                         Id.

at 1301.     The court noted that the defendant took """flight" which

was ""particularly suspicious" because he ""ran away at full speed

as soon    as    he saw      the officers."         Id. at 1302.       Further, the

""duration" of the flight was also significant: the defendant ran

behind a building, ""climbed a fence, sprinted across a parking lot

and began to scale a second fence."                Id.     The distinctions present

in this case are clear.


        The second case. United States v. Willis, is also materially

distinguishable.            759 F.2d 1486 (11th Cir. 1985).                 There, law

enforcement had reason to believe that a private plane landing

late at night at a small airport in a rural area used primarily by

private aircraft was loaded with substantial quantities of drugs.

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Id. at 1490-91.      The defendant approached the small, rural airport

late at night in a taxi cab.            Id. at 1492.     The defendant stepped

out of the cab, saw police officers and police cars around the

private    plane,    made   eye   contact     with   a   police   officer,   and

immediately got back in the cab and left the airfield.                  Id. at

1492.   Here, Plaintiff's exit was notably different.             Further, the

circumstances surrounding the defendant's flight in Willis were

very suspicious.      Here, they were not.           Plaintiff was sitting in

a parked truck, in a public park, in the middle of the day.                   As

detailed earlier. Defendant had no reason to believe that Plaintiff

was engaged or about to be engaged in illegal activity.

     In his supplemental brief. Defendant sets forth one more case

in an attempt to establish arguable reasonable suspicion, Hargis

V. City of Orlando, Fla., 586 F. App'x 493 {11th Cir. 2014).             There

an officer was on patrol along International Drive in Orlando,

Florida.    Id. at 4 94.      The patrol was part of an operation to

address a recent string of commercial burglaries that were taking

place along International Drive in the early morning hours.                  Id.

At approximately 1:00 a.m. or 2:00 a.m., the officer observed the

plaintiff drive slowly from the back of a closed restaurant on

International Drive to the front of the restaurant and then turn


around and head back the way he had come.                Id.   After observing

these actions, the officer activated his lights and pulled the

plaintiff    over.      Id.       The    Eleventh    Circuit   found   arguable

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reasonable suspicion based on the facts that: ^^Officer Springer

observed a       car driving slowly from       behind a     closed commercial

building to the front of the building in the early morning hours

in   an   area    he   knew   to   have   experienced   a   recent   string   of

burglaries.      Hargis also changed direction and headed back the way

he had come, essentially making a full lap of the parking lot."

Id. at 499.


      The present facts stand in sharp contrast to those in Hargis.

Plaintiff here was many miles away from the one berry incident of

record.     A flattened sleeping bag in a truck bed, without more,

does not indicate that the driver trespassed on land to illegally

pick berries.      In short, Hargis is materially distinguishable.

        For these reasons. Defendant's Motion for Summary Judgment

with respect to qualified immunity is due to be DENIED.

Ill. Plaintiff and Defendant are not Entitled to Summary Judgment

      To state a claim under 42 U.S.C. § 1983, Plaintiff must prove:

''(1) that the conduct complained of was committed                by a   person

acting under color of state law; and (2) that the conduct deprived

a person of rights secured by the Constitution or law of the United

States."     Morrison v. Washington Cty., Ala., 700 F.2d 678, 682

(11th     Cir.   1983).       In   addition,   the   causation    and    damages

requirements of common law tort claims apply to § 1983 claims.

''The Constitution is the substantive fuel powering § 1983, but its

mechanical structure is similar to the common law                of Torts.    As


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with any common law tort, Plaintiff must establish an adequate

causal link       between the       alleged   harm and the      alleged    unlawful

conduct."      Dixon v. Burke Cty., Ga., 303 F.3d 1271, 1274-75 (11th

Cir. 2002) (citations omitted).               See also Jackson v. Sauls, 206

F.3d 1156, 1168 (11th          Cir. 2000)      (''[W]e are guided      by certain

common law tort principles of damages and causation which apply in

this § 1983 context.").         ""For damages to be proximately caused by

a constitutional tort, a plaintiff must show that, except for that

constitutional tort, such injuries and damages                     would   not    have

occurred    and    further    that    such    injuries   and    damages    were   the

reasonably     foreseeable      consequences      of     the   tortious    acts    or

omissions in issue."         Jackson, 206 F.3d at 1168.         Even if Plaintiff

cannot establish actual damages. Plaintiff ""may recover nominal

damages."      Kelly v. Curtis, 21 F.3d 1544, 1557 (11th Cir. 1994).

      Turning to the issues of causation and damages, neither side

is entitled       to   summary judgment at this           point.     The Eleventh

Circuit has recognized that ^^[i]n addition to damages based on

monetary loss or physical pain and suffering, under the law a

§ 1983 plaintiff also may be awarded compensatory damages based on

demonstrated       mental     and     emotional    distress,       impairment      of

reputation, and personal humiliation."                 Slicker v. Jackson, 215

F.3d 1225, 1231 (11th Cir. 2000).              Here, Plaintiff testified that

he suffered physical pain and suffering from his sutures coming

out   during    the    encounter.       Plaintiff      also    testified   that     he

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suffered    emotional   distress   as   a    result   of   the   encounter.     In


response. Defendant argues that Plaintiff cannot establish that

Defendant was the proximate cause and cause-in-fact of Plaintiff s

physical and emotional distress damages.              Because, based on this

record,    a   reasonable   jury   could     find   for    either   Defendant   or

Plaintiff on the issue of causation regarding the alleged physical

pain and suffering damages and on the issues of the existence and

amount of emotional distress damages, neither party is entitled to

summary judgment on these issues.

     Viewing the evidence in the light most favorable to Defendant,

Plaintiff has not shown as a matter of law that Defendant was the

cause-in-fact of Plaintiffs sutures being pulled out.                     First,

Plaintiff does not know when the sutures got pulled out.                 Second,

Defendant had limited physical contact with Plaintiff.                Other than

handcuffing and     unhandcuffing Plaintiff and taking Plaintiffs

wallet from Plaintiffs pocket. Defendant did not have physical

contact with Plaintiff.        Viewing the evidence in the light most

favorable to Defendant, then, a reasonably jury could find that

Plaintiff s sutures were naturally pulled out at some point during

the encounter and that the sutures more likely than not would have

been pulled out whether or not the encounter with Defendant had

occurred.      In other words, because a reasonable jury could find

that Defendant did not force Plaintiff to do anything out of the

ordinary, a reasonable jury could also find that it was more likely

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than not that the sutures were so loose that they would have been

pulled out with or without the encounter with Defendant.

       Furthermore, viewing the evidence in the light most favorable

to Defendant, based on this record a reasonable jury could find

that    Plaintiff      has   not     adequately        proven    emotional     distress

damages.   Other than Plaintiff's testimony that he was embarrassed,

traumatized, shocked, and afraid of getting shot. Plaintiff has

not    provided   evidence      of    mental      or    emotional     distress.        In

addition, the Court is unable to award Plaintiff emotional distress

damages as a matter of law, because Plaintiff has not proven the

amount of these damages as a matter of law.                     Accordingly, whether

Plaintiff is entitled to emotional distress damages, and if so,

how much compensation Plaintiff is entitled to, are matters to be

determined by a jury.

       Turning    to    Defendant's       Motion       for    Summary    Judgment,      a

reasonable jury could find that Defendant was the cause-in-fact

and proximate cause of physical pain and suffering stemming from

Plaintiff's sutures being pulled out.                    First, a reasonable jury

could determine that Defendant forcing Plaintiff out of his truck

caused   Plaintiff     to    exit   his   truck   in    a    manner   that   caused   the


sutures to pull out.          Plaintiff testified that the sutures likely

got pulled out when Plaintiff exited his truck; a reasonable jury

could agree with this testimony.                And although Plaintiff had to

exit his truck at some point (he was not going to spend the rest


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of his life in it), a reasonable jury could find that without

Defendant forcing Plaintiff out of the truck, it is more likely

than not that Plaintiff would             have exited the truck in a manner


that would not have pulled out the sutures.                       Thus, a reasonable

jury could find that Defendant was the cause-in-fact of Plaintiff's

sutures     being   pulled    out.       Turning      to the      emotional        distress

damages, a reasonable jury could believe Plaintiff's testimony

that   he    suffered      emotional       distress      because         of    Defendant's


unlawful actions.


       Further, a reasonable jury could find that Defendant was the

proximate     cause   of     Plaintiff's        sutures     being    pulled         out    and

Plaintiff's emotional distress (if Plaintiff suffered any).                                 To

establish proximate cause, the plaintiff must show that ^'the injury

or damages was a reasonably foreseeable consequence of the act or

omission."     Jackson, 200 F.3d at 1168 n.l6.                 First, a reasonable

jury could     find   that forcing            someone    out   of    a    vehicle     could

aggravate that person's injuries.                Such a finding does not impact

Defendant's     ability      to    do   his    job,     because     if    Defendant        had

reasonable     suspicion      that      Plaintiff     was   engaged,          or   about   to

engage, in criminal activity, then Defendant would be immune from

liability for aggravating injuries when forcing suspects out of

vehicles.      But    here.       Defendant     is    not   entitled          to   qualified

immunity and a reasonable jury could find that Defendant's actions

could foreseeably aggravate pre-existing medical conditions.                               The


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situation was tense, and Plaintiff testified that Defendant had

his    hand   on or       near    his gun at many points prior to ordering

Plaintiff     from        the    truck.   Under     these    circumstances,   it   is

reasonable to infer that a person would not exit his or her vehicle

as cautiously as he or she normally would, causing injuries to be

aggravated.       Thus, a reasonable jury could find proximate cause

regarding Defendant's actions and Plaintiff's physical pain and

suffering.       Second, a reasonable jury could find proximate cause

with    regard    to      any    emotional    or    mental   distress   suffered   by

Plaintiff.       A reasonable jury could find that a foreseeable result

of detaining a person without reasonable suspicion is that the

person may suffer emotional or mental distress.

       Finally,       a     reasonable       jury    could    believe   Plaintiff's

testimony that he suffered pain and suffering as a result of his

sutures being pulled out and that he suffered emotional distress

from the encounter.              If a reasonable jury finds either of these

things, then it could also reasonably award Plaintiff compensatory

damages.

       Because neither Plaintiff nor Defendant can prove causation,

or the lack thereof, and damages, or the lack thereof, as a matter

of law, both parties' motions for summary judgment are due to be

DENIED.




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                                            CONCLUSION


                   For these reasons. Plaintiff's motions for summary judgment,

              dkt. nos. 5, 19, and Defendant's Motion for Summary Judgment, dkt.

              no. 21, are DENIED.

                   SO ORDERED, this 19th day of March, 2019.




                                               HON.^ISA^ GOBBE^ WOOD," JUDGE
                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN   DISTRICT OF GEORGIA




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